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Elizabeth A. Carbone, Esq. (Atty. Id. No. 116052014)
COLE SCHOTZ P.C.
Court Plaza North
25 Main Street, P.O. Box 800
Hackensack, New Jersey 07602-0800
201-489-3000
201-489-1536 Facsimile
Attorneys for Plaintiff, Redi-Data, Inc.

                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                                   Civil Action No. 2:20-cv-17484-JMV-JBC
REDI-DATA, INC.,

                  Plaintiff,                                          Civil Action

                                                               Oral Argument Requested
          v.
                                                    NOTICE OF PLAINTIFF’S MOTION TO
THE SPAMHAUS PROJECT a/k/a THE                      EXTEND TIME TO SERVE A PLEADING
SPAMHAUS PROJECT LTD.,                             PURSUANT TO FEDERAL RULE OF CIVIL
                                                          PROCEDURE 6(b)(1)(A)
                          Defendant.


         PLEASE TAKE NOTICE that on December 20, 2021, or on another date to be set by

the Court, plaintiff, Redi-Data Inc. (“Redi-Data”), by and through its undersigned counsel, shall

move before the Honorable John Michael Vazquez, United States District Judge, in Courtroom

PO 03 at the United States District Court, Martin Luther King Building & U.S. Courthouse, 50

Walnut Street, Newark, New Jersey, 07101, for the entry of an Order granting Redi-Data an

additional 45 days to effectuate the international service of the complaint on defendant pursuant

to Federal Rule of Civil Procedure 6(b)(1)(A).

         PLEASE TAKE FURTHER NOTICE that in support of this motion, Redi-Data shall

rely upon the accompanying Declaration of Elizabeth A. Carbone dated November 24, 2021,

with exhibits. Redi-Data also submits a proposed Order herewith.




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         PLEASE TAKE FURTHER NOTICE that if timely opposition is filed, Redi-Data

respectfully requests oral argument on the motion on or after the return date.

                                             Respectfully Submitted,

                                             COLE SCHOTZ P.C.
                                             Attorneys for Plaintiff, Redi-Data, Inc.


                                               By: /s/ Elizabeth A. Carbone
                                               Elizabeth A. Carbone, Esq.
                                               Court Plaza North, 25 Main Street
                                               Hackensack, New Jersey 07601
                                               Telephone: (201) 525-6299
                                               Facsimile: (201) 678-6299
                                               ecarbone@coleschotz.com

DATED: November 24, 2021




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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and complete copy of the foregoing document has been served

on November 24, 2021, via CM/ECF to all counsel of record.


                                      By:    /s/ Elizabeth A. Carbone
                                             Attorneys for Plaintiff, Redi-Data, Inc.




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